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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
In re: § Chapter 11
§
BENDCO, INC., § Case No. 18-30849
§
§
Debtor. §

DEBTOR'S EMERGENCY MOTION FOR INTERIM AND FINAL ORI}ERS (A)
AUTHORIZING USE OF CASH COLLATERAL, (B) GRANTING ADEQUATE
PRO'I`EC'I`ION, AND (C) SCHEDULING A PRELIMINARY AN]} FINAL HEARING
PURSUANT TO 11 U.S.C. 88 361 AND 363

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF
YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING
PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNO'I`
AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING PARTY.
YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 14 DAYS OF THE DATE TI-IIS
WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD
NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY
BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION
AND HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE HEARING.
UNLESS THE PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE
AT THE HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

There will be a hearing on this motion on March 29, 2018 gt 10:30 2_1_£1_. in courtroom
#40{}, 4“‘ Floor, 515 Rusk, Houston, TX '7'7002.

TO The Honorable David R. Jones
United States Banl<ruptcy Judge:

COMES NOW, Bendco, Inc., the Debtor herein (“Bendco" 01‘ the “Debtor"), and files this
Elnergeney Motion for Interim and Final Orders (A) Authorizing Use of Cash Collateral, (B)
Granting Adequate Protection, and (C) Scheduiing a Prelirninary and Final Hearing Pursuant to `11
U.S.C. §§ 36£ and 363 (the "Motion"), and in Support thereof, Would. respectfully show unto the

Court as foilows:

 

 

 

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1. The Debtor fiied a voluntary petition for relief under Chapter 11 of Title 11 of the
United States Code on February 28, 2018 (the "Date of Petition"). From and since the Date of
Petition, the Debtor has maintained possession of its property, and remains in control of its ongoing
business affairs, as a Debtor-in~Possession pursuant to the provisions of 11 U.S.C. §§ 1107 and
1108.

2. This Court has jurisdiction over the motion pursuant to 28 U.S.C. §§ 157 and 1334.

3. The Debtor requests this Couit‘s authorization for the use of cash collateral pursuant
to il U.S.C. §§ 361 and 363.

4. Notice of the Motion is being provided herewith to the United States Trustee and all
Parties-in-interest pursuant to Bankruptcy Rules 2002, 4001(b) and 9006, and as required by
Sections i02, 361, 362, and 363 of the Bankruptcy Code.

5. The Debtor requests a preiiminary and a final hearing on the Motion in accordance
With Bankruptcy Local Rule 4001(b).

6. On or about June 11, 2015, 801 Houston Ave Property for value received, made,
executed, and delivered to Bank of America (“B of A”) a Loan Agreement evidencing a term loan
in the original principal amount of $2,206,519.09, as otherwise extended, renewed, amended,
supplemented, and/or modified including but not limited to that certain Arnendrnent No. 1 to Loan
Agreement dated August 21, 2015 and that certain Amendment No. 2 to Loan Agreement dated
September 21, 2015 (collectiveiy referred to herein as “Loan 2”). Loan 2 provided for 301
Houston Ave Property to make payments to B of A of ali principal and interestl

7. Concurrent With the execution of Loan 2, Bendco, Inc., executed and delivered to

B of A a Continuing and Unconditional Guaranty Whereby Bendco guaranteed repayment of any

 

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and all indebtedness of 801 Houston Ave Property, including Loan 2 (the “Bendco Guaranty”).

8. The Loans are in default Bendco has failed to abide by the terms of the Loan
Documents by failing and refusing to make payments as required under the terms of the Loan
Documents. All amounts under the Loan Documents have been accelerated by B of A.

9. B of A asserts it has valid, perfected, first-priority secured claim against 801
liouston Avenue Property, LLC, as of the Petition Date of Which approximately $350,000.00 is
owed directly by Bendco as maker, and in excess of Two Million Five Hundred Thousand
($2,500,000.00 Dollars as guarantor.

10. The Debtor has projected cash needs from the Petition Date through and including
March 3l, 20l 8, as set forth on the budget attached as Exhibit "A“.

11. Debtor requests this Court's authority to permit the utilization of cash collateral
sufficient to pay the Debtor’s projected cash needs as reflected in the budget attached as Exhibit
"A". The Debtor further requests this Court to determine any adequate protection to be provided to
B ofA for the use of such cash collateral. The payment of Debtor's expenses is absolutely essential
to the ability of the Debtor to effect a reorganization, since these expenses directly contribute to the
everyday operation of the Debtor's business

Reguest for Preliminary Hearing

12. Debtor requests an emergency preliminary hearing for immediate authority to use
cash collateral for the exclusive purpose of paying post-petition expenses incurred during Debtor's
normal everyday business affairs. Since a portion of the Property is currently being leased, the
timely payment of ongoing business expenses is absolutely essential for maintaining the Property.

13. Debtor has numerous expenses Which must be paid immediately to adequately

 

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protect and maintain the Property. Therefore, Debtor seeks an immediate hearing so that the cash
collateral can be at least temporarily used to pay the necessary expenses
WHEREFORE, PREMISES CONSIDERED, Bendco, Inc., the Debtor herein, prays for this
Court to set a preliminary and final hearing on the Debtor's emergency request for the use of cash
collateral; that at the preliminary hearing the Court grant temporary use of cash collateral;
determine adequate protection payments ; that at a final hearing the Court grant the Debtor's request
for use of cash collateral, and authorize Debtor to utilize cash collateral sufficient to pay Debtor's
ongoing monthly expenses; and grant Debtor such other and further relief as is just and equitable
Respectfully submitted this 27th day of March, 2018.
FUQUA & ASSOCIATES, PC
By: /s/Richard L. Fuqua
Richard L. Fuqua
State Bar l\lo. 07552300
FUQUA & ASSOCIATES, PC
5005 Riverway, Suite 250
Houston, TX 77056
(713) 960-0277 Tel.

COUNSEL FOR DEBTOR,
BENDCO, lNC.

 

 

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CERTIFICATE OF SERVICE

 

This is to certify that a true and correct copy of the foregoing instrument Was forwarded by
ECF and/or by U.S. Mail, first class postage pre~paid to the United States Trustee, 5l5 Rusk, Suite
3516, Houston, 'l`exas 77002 and to all parties listed on the attached service list on this the 27th day
of March, 2018.

/s/ Richam.' L. Fuaua
Richard L. Fuqua

CERTIFICATE OF CONFERENCE

 

l hereby certify that 1 have conferred With Richard Dafoe, counsel for Bank of America,
concerning the relief requested in this motion. An emergency is hearing is required for the entry of
an Agreed Order regarding the relief requested

/s/ Rz'chard L. Fuqua
Richard L. Fuqua

 

 

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EXH|BlT A

 

 

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BENDCO lNC.
EXPENSES

MARCH 2018 - PAGE 1

PROJECTED SALES

ADVERT|S|NG

|VlEAl.S & ENTERTA|Nl\/|ENT
Nl|LEAGE RE||V|BURSEIV{ENT
TECH BOOKS

JOB BOSS

WORKERS COl\/lP
INSURANCE - L|ABlL|TY BU|E.D|NG
CONSULT|NG FEES

OFFECE SUPPL|ES

Ul\llFORI\/I EXPENSE
ACCRUED PROPERTY TA)(ES
ACCRUED FRANCH!SE TAXES
CELL PHONES

lANiTOR|AL
SALAR|ES - SALES

SALAR|ES - ACCOUNT|NG

SALAR|ES ~ OFF|CERS

SALAR|ES - SHOP

BANK LOAN - PAYABLE TO BOA AS ADEQUATE PROTECTEON
BANK CHARGES FOR DlP ACCOUNT

LEGAL & PROFESS|ONAL

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250,000.00

200.00
500.00
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5,000.00
7,500.00
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300.00
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95,000.00
10,000.00

100.00

15,000.00

 

 

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BENDCO lNC.
EXPENSES
lVlARCH 2018 - PAGE 2

 

lOB PURCHASES $ 1,500.00
CONTRACT SERV|CES $ 10,000.00
SHOP SUPPL|ES S 5,000.00
AUTO E)(PENSE $ 1,500.00
DEL|VERY & FRE|GHT $ 500.00
R & lVl OFF|CE BU|LD|NG $ 1,000.00
R & lVl TRANSPORTATION $ 550.00
EQU|P|V|ENT RENTAL S 6,000.00
R & l\/l EQUlPl\/IENT 5 3,000.00
R & lVl CRANES $ 1,000.00
R & lVl SHOP BUlLD|NG $ 500.00
UT|LlT|ES - ELECTR|C, WATER, PHONE & GAS S 17,000.00
COl\/IPUTER EXPENSES $ Z,OO0.00
COPY |VlACH|NE LEASE 5 2,000.00
POSTAGE |VlACH|NE LEASE $ 1,500.00
R-7 MACHENE #fl $ 3,000.00
R~5 MACHENE $ 2,500.00
AKYAPAK $ 5,000.00

TOTAL E)(PENSES $ 249,550.00

 

 

TGTAL PROF|T $ 450.00

 

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Bendco, Inc.
801 Houston Ave.
Pasadena, TX 7?502

TXU Energy
PO Box 650638
Dallas, TX 75265

Knlght Capital Funding 11
9 East Lockerman St #3A-543
Dover, DE 19001

Team Industrial Services Inc.
PO Box 842233
Dailas, TX 75284-2233

Ball Winch
15786 Hwy 75 Noith, #l10948
Willis, TX 77378

lRlS NDT, Inc
1115 W. 4lst St.
Tulsa, OK 74 107

Dixie Pipe Sales, LP
Dept #372
PO Box 4346
Houston, TX 77210-4346

'I`exas Pipe & Supply Co.
PO Box 30l052
Dallas, TX 75303-1052

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Richard L. Fuqua
Fuqua & Associates, PC
5005 Riverway, Suite 250
Houston, TX 77056

20 LARGEST UNSECURED
CREDITORS:

CAN Capital Asset Servicing, lnc.
Fora Financial
242 W. 36th St.
New Yorlc, NY 10018

G&A Paltners
1?220 Katy Fwy #350
Houston, TX 77094

TUV Rheinland ind Solutions
PO Box 4l7532
Boston, MA 0224l-7532

Herc Rentals, lnc.
PO Box 650280
Dallas, TX 75265-0280

Accutest Labs
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Houston, TX 77040

Praxair
10 Riverview Dr.
Danbury, CT 06810

Fastway Freight Systems
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Houston, TX 7?287-7644

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Dallas, TX 75266-0576

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13129 23 Mile Road
Shelby Township, Ml 48315

LB Foster Ball Winch
PO Box 643343
Pittsburgh, PA 15264~3343

Great Western Metals
14121 Gulf Freeway
Houston, TX 77034

Adobe Equipment
7607 Wai[isvifle Rd
Houston, TX 7?020

Omnipotech LTD
11422A Craighead Dr
Houston, TX 77025

 

 

 

 

 

 

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Hector Duran
Oftice ofthe US Trustee
5l5 Rusk Ave., Ste. 3516

Houston, TX 77002

BB&T Commercial Equipment Capital
c/o Alan B. Padtield
421 W‘ Tln`rd St., Ste. 910
Foit Worth, TX 76102

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Assistant United States Attorney
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Houston, 'i`X '77002

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Maurice Witscher, LLP
c/o Alan C. Hochheiser
2000 Auburn Drive, Ste. 200
Beachwood, OH 44122

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PARTIES REQUESTING NOTICE:

I~larris County
c/o Tara L. Grundemeier
Linebarger Goggan Blair et al
PO Box 3064
Houston, TX 77002

Susquehanna Comrnercial Finance, Inc.
c/o Alan B. Padtield
421 W. Third St., Ste. 910
Fort Worth, TX 76102

Omnitech Ltd cfc Mynde S. Eisen

LAW OFFICE OF MYNDE S. EISEN, P.C.

6546 Greatwood Parkway, Ste. C
Sugar Land, TX 77479

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